
111 Ga. App. 691 (1965)
143 S.E.2d 13
BROWDER
v.
SLOAN et al. BROWDER, Next Friend
v.
SLOAN et al.
41306, 41307.
Court of Appeals of Georgia.
Submitted May 5, 1965.
Decided May 13, 1965.
Ralph L. Crawford, for plaintiff in error.
Brannen, Clark &amp; Hester, Perry Brannen, contra.
BELL, Presiding Judge.
1. Liability of a parent for the tort of his child in directly inflicting injury against the person of another is governed by the ordinary principles of liability of a principal for the acts of his agent or a master for his servant. Liability does not arise out of a mere relationship of parent and child.
2. The liability of a parent for the tort of his child as provided in Code Ann. § 105-113 applies only to acts of the child directed to the damaging of property and to injuries to the person resulting naturally and proximately from those acts. The Code section does not apply to the wilful torts of a minor under seventeen which are directed against the persons of others and not directed against property. Bell v. Adams, 111 Ga. App., post; Vort v. Westbrook, 221 Ga.
Judgments affirmed. Frankum and Hall, JJ., concur.
